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                                                8   ALMA ELIZABETH JOAQUIN,
                                                    erroneously sued as ALMA ZAMORA
                                                9   DE JOAQUIN, and ADORAIM
                                                    JOSADAC JOAQUIN, erroneously sued
                                               10   as ADORAIM JOAQUÍN ZAMORA
                                                    Additional counsel on following page
                                               11
                                                                             UNITED STATES DISTRICT COURT
                                               12
                                                                         CENTRAL DISTRICT OF CALIFORNIA
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                                               13                            WESTERN DIVISION - LOS ANGELES
                                               14   SOCHIL MARTIN,                             Case No.: 2:20−cv−01437 ODW (ASx)
                                               15               Plaintiff,                     DISCOVERY MATTER
                                               16         v.                                   DEFENDANTS’ JOINT
                                                                                               OPPOSITION TO STATE OF
                                               17 LA LUZ DEL MUNDO, an                         CALIFORNIA’S EX PARTE
                                               18 unincorporated association, et al.           APPLICATION TO QUASH
                                                                                               SUBPOENAS
                                               19               Defendants.
                                                                                               Complaint Filed: February 12, 2020
                                               20
                                                                                               Trial Date:      None Set
                                               21                                              District Judge:   Otis D. Wright, II
                                               22                                              Courtroom:        5D, 5th Floor
                                                                                               Magistrate Judge: Alka Sagar
                                               23                                              Courtroom:         540, 5th Floor
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                                                    MENDOZA, DAVID MENDOZA,
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                                                1         OPPOSITION MEMORANDUM OF POINTS AND AUTHORITIES
                                                2   I.    INTRODUCTION
                                                3         The DOJ’s Ex Parte Application to quash is effectively an opposition to
                                                4   Defendants’ Local Rule 7-8 (“LR 7-8”) request to cross-examine the DOJ attorneys
                                                5   at hearing (the “Cross-Examination Request”). Under LR 7-8, the DOJ’s opposition
                                                6   would have been due today and the Court would have until three days before the
                                                7   hearing to decide whether to grant the Cross-Examination Request. Instead, the DOJ
                                                8   decided to rush down to the courthouse, jump to the front of the line ahead of all of
                                                9   the other matters on the Court’s calendar, and ask the Court to “hurry up” and make
                                               10   a decision quicker. Moreover, the DOJ sought relief from the incorrect Court. There
                                               11   is no basis to seek ex parte relief and proceeding on this basis completely disregards
                                               12   the Court’s Standing Order, the Court’s calendar, and the Court’s resources.
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                                               13   Moreover, the amount of effort the DOJ is expending to prevent disclosure of the
                                               14   timing and content of its communications with Plaintiff’s counsel during the course
                                               15   of this civil action (and the date it learned of this lawsuit) is striking. Obviously, the
                                               16   DOJ does not want the Court or Defendants to know when they knew the civil lawsuit
                                               17   was filed (critical to the DOJ’s Rule 24 Motion) or what the DOJ and Plaintiff’s
                                               18   counsel have been discussing during this lawsuit. For the reasons stated above and
                                               19   herein, the DOJ’s Application is not warranted. Defendants oppose the Application
                                               20   and respectfully request that the relief be denied.
                                               21   II.   DISCUSSION
                                               22         A.     The DOJ’s Request For Ex Parte Relief Is Not Warranted.
                                               23         To warrant ex parte relief, the DOJ must show that “extraordinary relief” is
                                               24   required. (Doc. 39, 6:5-7 (Scheduling Order)); see also Mission Power Eng’g Co. v.
                                               25   Cont’l Cas. Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995) (party seeking ex parte relief
                                               26   must show irreparable prejudice and be without fault in creating the circumstances
                                               27   requiring ex parte relief.) The DOJ has not satisfied and cannot satisfy that burden.
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                                                                  DEFENDANTS’ JOINT OPP. TO EX PARTE APP. TO QUASH SUBPOENAS
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                                                1   In fact, as explained, the Application is totally unnecessary. The subpoenas were
                                                2   served in support of Defendants’ LR 7-8 Request to secure the declarants’ appearance
                                                3   at hearing and to compel production of a limited set of communications between the
                                                4   DOJ and Plaintiff’s counsel (and Plaintiff) during the time of the civil action
                                                5   (alternatively, the LR 7-8 Request asked the Court for leave to depose the declarants
                                                6   prior to the hearing). (Doc. 68-2, 2-3:25-1 (LR 7-8 Request).)
                                                7         Ex parte relief is not necessary because the DOJ could have simply filed an
                                                8   objection to the LR 7-8 request today (or yesterday, if it wanted), which the Court
                                                9   would then adjudicate by next week by rule. If the Court denies Defendants’ request,
                                               10   the DOJ would be under no obligation to produce the declarant. (C.D. Cal. LR 7-8.)
                                               11   Further, Defendants have already represented they would withdraw the subpoenas if
                                               12   the Court denied the request. (Doc. 72-5, July 1, 2020 email from R. Aljian (also
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                                               13   explaining that they would amend the subpoenas if the Court granted cross-
                                               14   examination at deposition or maintain the subpoenas if the Court reset the hearing
                                               15   and granted cross-examination at the hearing).) Therefore, there was absolutely no
                                               16   need to seek relief of Court. The only apparent purpose of the Application was to
                                               17   jump to the front of the line and ask the Court to attend to the DOJ’s request faster.
                                               18   This is neither warranted nor appropriate.
                                               19         B.     The DOJ’s Request To Quash The Subpoenas Lacks Merit.
                                               20         Even assuming ex parte relief were warranted, quashing the subpoenas is not.
                                               21         The DOJ claims the subpoenas are moot. That is not correct. While the Court
                                               22   took the hearing off-calendar, the Court may choose to grant the LR 7-8 Request and
                                               23   reset the hearing. In that case, the subpoenas remain relevant and enforceable. In the
                                               24   alternative, the Court may grant the request to depose the declarants, at which point
                                               25   the subpoenas could be amended. In either case, the issue is not moot.
                                               26         The DOJ claims Mr. Segal is not within the Court’s jurisdiction. That is not
                                               27   correct. As an initial matter, LR 7-8 places the burden on the DOJ to prove lack of
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                                                1   jurisdiction and the DOJ has not satisfied that burden. Regardless, the Court has the
                                                2   power to compel his appearance. Rule 45 of the Federal Rules of Civil Procedure
                                                3   states that a “subpoena may command a person to attend a…hearing, or
                                                4   deposition…(A) within 100 miles of where the person resides, is employed, or
                                                5   regularly transacts business in person; or (B) within the state where the person
                                                6   resides, is employed, or regularly transacts business in person, if the person…is
                                                7   commanded to attend a trial and would not incur substantial expense.” FED. R. CIV.
                                                8   P. 45(c)(1). The DOJ does not offer competent evidence where Mr. Segal resides or
                                                9   works – rather, the evidence upon which the DOJ relies is Ms. Dean’s declaration.
                                               10   (Doc. 73-1, ¶8.) That testimony lacks foundation and, therefore, is not admissible.
                                               11   Moreover, the DOJ fails to state whether Mr. Segal transacts business within the
                                               12   Court’s jurisdiction. See FED. CIV. P. RULE 45(c)(1)(B). This is a notable omission,
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                                               13   given the language of Rule 45 and the evidence in the record. Indeed, Mr. Segal has
                                               14   already declared that he does transact business in this jurisdiction, stating he is
                                               15   “assigned to represent the [DOJ] in the matter entiled People v. Garcia, et al., Los
                                               16   Angeles Superior Court Case No. BA475856.” (Doc. 50-3, ¶1 (emphasis added).)
                                               17   Moreover, if the Court were to grant the LR-7-8 Request, the associated costs would
                                               18   be minimal (to appear live) or non-existent (to appear by video).
                                               19         The DOJ claims Local Rule 7-8 does not apply and that the information sought
                                               20   is not relevant. That is not correct. Local Rule 7-8 does apply and the evidence sought
                                               21   is directly relevant to the pending motions. As the DOJ admits, LR 7-8 applies to any
                                               22   motion where an issue of fact is to be determined. C.D. CAL. LR 7-8. Further, contrary
                                               23   to the DOJ’s contention, there exists a factual issue that must be determined by the
                                               24   Court, evidence as to which the subpoenas and related LR 7-8 Request seeks to
                                               25   compel. Under Rule 24 of the Federal Rules of Civil Procedure, the DOJ must
                                               26   establish that it timely filed its Motion to Intervene and to Stay Discovery, noticed
                                               27   for hearing on July 13, 2020 (the “Rule 24 Motion”). Fed. R. Civ. P. 24(a)-(b). The
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                                                1   timeliness requirement is “the threshold requirement” for both intervention of right
                                                2   and permissive intervention. United States v. Oregon, 913 F.2d 576, 588 (9th
                                                3   Cir.1990). A party must intervene promptly as soon as it “knows or has reason to
                                                4   know that [its] interests might be adversely affected by the outcome of litigation” to
                                                5   be timely. Id., 913 F.2d at 589. The Court must consider the existence of any delay,
                                                6   the reason for any delay, and the length of delay. SEC v. Balwani, No. 5:18-CV-
                                                7   01603-EJD, 2019 WL 2491963, at *1 (N.D. Cal. June 14, 2019). The DOJ bears the
                                                8   burden of establishing these facts, including the existence of any delay and the reason
                                                9   for the delay. If the Court finds “that the motion to intervene was not timely, it need
                                               10   not reach any of the remaining elements of Rule 24.” United States v. Oregon, 913
                                               11   F.2d at 588.
                                               12          In the Rule 24 Motion, Mr. Segal and Ms. Dean’s supporting declarations, the
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                                               13   DOJ does not explain when it knew or had reason to know that its alleged interests
                                               14   may be affected by this civil lawsuit. This critical “threshold” fact has been
                                               15   completely and repeatedly withheld from the Court and Defense counsel. During the
                                               16   parties’ Local Rule 7-3 conference regarding the DOJ’s Rule 24 Motion, Defense
                                               17   counsel specifically asked Ms. Dean questions designed to determine when the DOJ
                                               18   knew or had reason to know its alleged interests may be affected. (Doc. 61-1, ¶ 14,
                                               19   Ex. F (Aljian Decl.).) Ms. Dean refused to answer. Even in the Application and
                                               20   supporting declaration, the DOJ does not disclose these critical “threshold” facts.
                                               21   Instead, it seeks to maintain the secrecy of this information by asking the Court to
                                               22   quash the subpoenas. Defendants anticipate that cross-examination would reveal the
                                               23   DOJ has been communicating with Plaintiff’s counsel since the time of the filing of
                                               24   the Complaint (if not before that time) and was made aware of the filing of the civil
                                               25   action when it was filed, i.e., on February 12, 2020. If that is the case, it will establish
                                               26   that the DOJ knowlingly delayed bringing the Rule 24 Motion for four months and
                                               27   only filed the Rule 24 Motion after Plaintiff’s counsel told them that discovery would
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                                                1   commence soon. (Doc. Doc. 62-1, ¶48, Ex. L (Mallgrave Decl.).)
                                                2         The DOJ claims attorneys are “presumptively entitled to a protective order
                                                3   against being deposed by an adversary.” However, attorneys are not immune to cross-
                                                4   examination and the Court has discretion to approve the request. See e.g., Nguyen v.
                                                5   Ecel Corp., 197 F.3d 200 (5th Cir. 1999) (applying test from Shelton v. America
                                                6   Motors Corp., 805 F.2d 1323 (8th Cir. 1986), affirming order requiring counsel to
                                                7   submit to deposition). In Shelton, upon which the DOJ relies upon, the court created
                                                8   a three factor test: a party seeking to depose opposing counsel must show that “(1)
                                                9   no other means exists to obtain the information than to depose opposing counsel
                                               10   [citation omitted]; (2) the information sought is relevant and nonprivileged; and (3)
                                               11   the information is crucial to the preparation of the case.” Id. at 1327.
                                               12         Here, each of the elements are satisfied. There is no other means of obtaining
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                                               13   the information. Only the DOJ attorneys (along with Plaintiff’s counsel, as explained
                                               14   next) have personal knowledge of the facts at issue, i.e., when they communicated
                                               15   and what they discussed. Given the narrow scope of the examination sought, neither
                                               16   attorney-client privilege nor work product privilege apply. Defendants only seek
                                               17   disclosure of the the timing and content of communications between the DOJ
                                               18   attorneys and Plaintiff’s counsel during the period commencing shortly before the
                                               19   filing of the civil action to the present date, including when they discussed the filing
                                               20   of the civil action. (Doc. 68-2, 2-3: 11-8 (LR 7-8 Request); Doc. 61-1, ¶14; Doc. 61-
                                               21   7 June 3, 2020 email from R. Aljian; Doc. 62-1, ¶48 (Mallgrave Decl.).) The timing
                                               22   and content of these communications are not attorney-client privileged. There is no
                                               23   attorney-client relationship between the DOJ and Plaintiff or Plaintiff’s counsel (and
                                               24   the DOJ certainly has not established any facts supporting such a claim). The
                                               25   communications are not work product. They are communications between the DOJ
                                               26   and a third party. Any potential work product that may have been transmitted in those
                                               27   communications was waived upon disclosure to Plaintiff’s counsel. Finally, as
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                                                1   explained above, the evidence seeks to expose the threshold factual issue that must
                                                2   be considered by the Court and, therefore, a crucial fact as defined in Shelton.
                                                3          The DOJ claims the subpoenas were served for an improper purpose or to
                                                4   harass or annoy. This is incorrect. The subpoenas seek production of testimony and
                                                5   documents narrowly tailored to the threshold factual issue that must be resolved by
                                                6   the Court upon ruling on the Rule 24 Motion. Because the DOJ and Plaintiff’s
                                                7   counsel have refused to disclose that information informally upon request by Defense
                                                8   counsel and failed to provide it to the Court in support of its Rule 24 Motion,
                                                9   testimony and production of responsive communications is the only other means of
                                               10   acquiring the information. By refusing to candidly disclose the facts to the Court or
                                               11   to Defense counsel, the DOJ attorneys has placed themselves in this position. If the
                                               12   DOJ had been candid and open, a subpoena to compel disclosure of the evidence
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                                               13   woud not be necessary.
                                               14   III.   CONCLUSION
                                               15          For the reasons stated, Defendants respectfully request that the Application be
                                               16   denied.
                                               17   Dated: July 2, 2020                       DAILY ALJIAN LLP
                                               18
                                               19                                             By: /s/ Reed Aljian
                                                                                                Reed Aljian
                                               20                                               Attorneys for Defendants,
                                                                                                COMMUNICATION CENTER
                                               21                                               BEREA U.S.A. LLC,
                                                                                                erroneously sued as
                                               22                                               INTERNATIONAL BEREA USA,
                                                                                                ALMA ELIZABETH JOAQUIN,
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                                               24                                               and ADORAIM JOSADAC
                                                                                                JOAQUIN, erroneously sued as
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                                                                                              and JOSE LUIS ESTRADA
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